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                      EXHIBIT E
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                       UNITEDSTATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  JONATHAN L. BURKS,

              Plaintiff,
                                              Case No. 2:19-cv-10027
  V.
                                              HON. GERSHWIN A. DRAIN
  BENNY NAPOLEON, ET AL.,
                                              HON. ANTHONY     P. PATTI
              Defendants.


                DEFENDANTS' DISCLOSURE PURSUANT TO
                      FED. R. CIV. PROC. 26(a)(2)(C)




        Pursuant to Rule 26(a)(2)(C) of the Federal Rules of Civil Procedure,

  Defendants provide the following disclosures:




                                                                        Alan Bulifant
                                                                         EXHIBIT1
                                                                             9/27/21
                                                                       Rptr: Cheri
                                                                                   Popfin
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  1.    Commander Alan Bulifant.

        a.   Commander Bulifant is expectedto present evidence under FRE 702,

             703 and 705 regarding the fact that the Wayne County Jail took

             measures     to address the risk of sexual assault in the jails.    Thus, the

             Defendants did NOT act with deliberate indifference          as    to whether

             Plaintiff was subjectto an assault in the Jail on August 24, 2016.

        b.   Below is a summary of facts and opinions on which Commander

             Bulifant is expectedto testify:

             i.     The Jail provided notice and information           to each inmate

                    regarding the jail's Zero Tolerance policy concerning rape and

                    sexual activity contained in the Inmate Handbook and on visible

                    sign postingsin the jails.

             ii.    All   jail inmates receive a tri-fold    handout to educate them

                    regardingthe Jail's zero tolerance policy on sexual assaults,

             iii.   The Jail provides a classification system to assign different

                    security levels to inmates and perfonns housing assignments to

                    assist in maintaining the safety and security of the Jail for

                    inmates and staff;
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             iv.     This classification system includes screening for an inmates

                     current   charge, prior criminal history, and prior institutional

                     discipline.

             v.      The classification and housing system at the Jail permit the

                     assignmentto protective custody of those inmates requiring this

                     designation; inmates Burks and Solomon were both placed into

                     protective custody.

             vi.     Placement of Burks into protective custody demonstratedthat the

                     Jail took concrete    measures   to address risks presented by Mr.

                     Burks' high-profile crime;

             vii.    Mr. Burks was never      in general population at the Wayne County

                     Jail;

             viii.   The classification      and housing system at the Jail permit

                     assignmentto alternative lifestyle for those requestingor needing

                     housing due to known or suspected feminine appearances or

                     mannerisms or homosexual lifestyles;

             ix.     A third party   -
                                         the Internal Affairs Division   -
                                                                             investigatesall

                     allegationsof sexual assault and harassment;
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             x.      Another third party   -
                                                   the Wayne County Prosecutor's Office   -




                     determines if criminal complaints are warranted in instances of

                     sexual assaults and harassmentby inmates and officers;

             xi.     The Jail has completedprosecutionsof jail officers and inmates;

             xii.    During the applicabletime period, hourly rounds were conducted

                     by jail security floor staff on Plaintiff's       ward; during these

                     rounds, security officers observed inmates for signs of threats or

                     fear;

             xiii.   The jail processes approximately 20,000 inmates per year; the

                     instances of sexual assault are extremely rare; when reported,

                     they are investigatedand prosecuted if warranted;

             xiv.    The jail maintains        a   video monitoring system to assist in

                     maintaining security and safety of inmates and staff;

             xv.     Wayne County disciplines, including termination, security

                     officers who exhibit misconduct while on duty;

  2.   Director James Davis.

       a.    Director Davis is expected to present evidence under FRE 702, 703 and

             705 regarding the fact that the Wayne County Jail took measures          to

             address the risk of sexual assault in the jails. Thus, the Defendants did
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             NOT act with deliberate indifference as to whether Plaintiff was subject

             to an assault in the Jail on   August 24, 2016.

        b.   Below is a summary of facts and opinions on which Director Davis is

             expected to testify:

             i.     The       Jail provided notice and information     to   each inmate

                    regarding the jail's Zero Tolerance policy concerning rape and

                    sexual activity contained in the Inmate Handbook and on visible

                    sign postingsin the jails.

             ii.    All   jail inmates receive a tri-fold      handout to educate them

                    regardingthe Jail s zero tolerance policy on sexual assaults,

             iii.   The Jail provides a classification system to assign different

                    security levels to inmates and performs housing assignments to

                    assist    in maintaining the safety and security of the Jail for

                    inmates and staff;

             iv.    This classification system includes screening for an inmates

                    current     charge, prior criminal history, and prior institutional

                    discipline.

             v.     The classification and housing system at the Jail permit the

                    assignmentto protective custody of those inmatesrequiring this
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                     designation; inmates Burks and Solomon were both placed into

                     protective custody.

             vi.     Placement of Burks into protective custody demonstratedthat the

                     Jail took concrete    measures    to address risks presented by Mr.


                     Burks' high-profile crime;

             vii.    The classification         and housing system at the Jail permit

                     assignmentto alternative lifestyle for those requesting or needing

                     housing due to known or suspected feminine appearances or

                     mannerisms or homosexual lifestyles;

             viii.   A third party   -
                                         the Internal Affairs Division   -
                                                                             investigatesall

                     allegationsof sexual assault;

             ix.     Another third party    -
                                                 the Wayne County Prosecutor's Office     -




                     determines if criminal complaints are warranted in instances of

                     sexual assaults and harassment by inmatesand officers;

             x.      The Jail has completedprosecutionsof jail officers and inmates;

             xi.     During the applicabletime period, hourly rounds were conducted

                     by jail security floor staff on Plaintiff's    ward; during these

                     rounds, the security officers observe inmatesfor signs of threats

                     or   fear;
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              xii.    The jail processes approximately 20,000 inmates per year; the

                      instances of sexual assault are extremely rare; when reported,

                      they are investigatedand prosecuted if warranted;

              xiii.   The jail maintains    a   video monitoring system to assist in

                      maintaining security and safety of inmates and staff;

              xiv.    The Jail's PREA coordinator supervises implementation of

                      PREA guidelines and coordinates training of all security staff;

             xv.      Each of the jails has PREA managers to assist implementingthe

                      Jail's training and sexual assault prevention and intervention

                      policies;

             xvi.     The Jail maintains a Sexual Assault and Misconduct Prevention

                      and Intervention Plan contained in Jail Policy, 14.17;

             xvii.    The Jails utilized the PREA Resource Center to produce the

                      PREA tri-fold, signs, policy, and training;

             xviii.   Maintain    quarterly reports   on   state   of sexual assault and

                      harassment complaints; these reports         are   provided to third

                      parties;

             xix.     The Jail mandates PREA training on detectionand preventionat

                      academies; and
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              xx.   The Jail requires its security personnel to attend PREA training

                    on an annual basis.




                                                Respectfully submitted,

                                          By:
                                                PAUL T. O'NEILL (P57293)
                                                Assistant Wayne Corporation Counsel
                                                JAMES W. HEATH (P65419)
                                                Wayne County Corporation Counsel
                                                Attorneys for Defendant Wayne County
                                                500 Griswold Street, 30th Floor
                                                Detroit, MI 48226
                                                (313) 967-6402
                                                voneilMwavnecounty.com
